            Case 3:17-cr-01080-WQH Document 1 Filed 04/03/17 PageID.1 Page 1 of 4
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                                                                         'FILED
 3                                                                  2017 APR -3 AM 9: 44
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 8
 9                              UNITED STATES DISTRICT COURT 


10                            SOUTHERN DISTRICT OF CALIFORNIA 

11
12 UNITED STATES OF AMERICA,
                                                      Case No.:    '17MJ8324
13                                  Plaintiff,
                                                      COMPLAINT FOR VIOLATION OF
14
               v.
15                                                    Title 21, U.S.C. §§ 952, 960
                                                      Importation of a Controlled Substance
16 Phyllis Marlena SCHAFFTER,
                                                      (Felony)
17
                                  Defendant.
18
19J.J---­

20              The undersigned complainant duly sworn states: 

21 

                That on or about April 1, 2017, within the Southern District of California, 

22 

23 defendant, Phyllis Marlena SCHAFFTER, did knowingly and intentionally import

24 approximately 107.6 grams (.24 pounds) of Methamphetamine, a Schedule II Controlled
25
       Substance, into the United States from a place outside thereof, in violation of Title 21,
26
27 United States Code, Sections 952 and 960.

28
        Case 3:17-cr-01080-WQH Document 1 Filed 04/03/17 PageID.2 Page 2 of 4


 1        And the complainant states that this complaint is based on the attached

 2 Probable Cause Statement which is incorporated herein by reference.
 3
 4
 5
 6
 7
          SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, THIS 3rd
 8
     DAY OF April, 2017.
 9
10
11                                           ~~LER~
                                              UNITED STATES MAGISTRATE JUDGE
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 1 
 UNITED STATES OF AMERICA
       v. 

 2 Phyllis Marlena SCHAFFTER 

 3

                                  PROBABLE CAUSE STATEMENT
 4

 5
            I, Homeland Security Investigations Special Agent (SA) Jose L. Paez, declare under 





               The package was probed and found to contain a crystal like substance that field
24 

25 tested positive for methamphetamine. The total weight of the package was approximately 


26 107.6 grams (.24 pounds).
27 

28 


                                                    3

 ..      Case 3:17-cr-01080-WQH Document 1 Filed 04/03/17 PageID.4 Page 4 of 4


 1         On April 1,20.16, at approximately 2:00 A.M., SA Jose L. Paez and SA Bryan J.

 2 Alexander were notified by CBPO and responded to the Calexico, CA West POE. At
 3
      approximately 3:45 A.M" SA Paez read the Miranda Warnings to SCHAFFTER in
 4
 5 English vet'batim from an ICE 73~025 Form, SCHAFFTER said she understood her rights

 6 and was willing to answer questions without the presence of an attorney.
 7
           During her statement, SCHAFFTER stated she knowingly attempted to smuggle
 8
 9 methamphetamine in her body and had been successful on f(lUr prior occasions.

10
11 Executed on April 1, 2017 at 10:50 A.M.

12
13
14

15
16         On the basis of the facts presented in the probable cause statement consisting of

17 four (4) pages, I find probable cause to believe that the defendant named in
18
   this probable cause statement committed the offense on                 April    1,   2017,
19
20 in violation of Title 21 United States Code, Section(s) 952 and 960,

21
22
                                                          12:58 PM, Apr 1, 2017
23 The Honorable William V. Gallo                           Date/Time
24 United States Magistrate Judge

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26
27
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